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Attorneys for Karen Barsanti

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]N THE SUPERIOR COURT FOR THE STATE OF ALASKA

THIRD ]UDICLAL DISTRICT AT ANCHORAGE

 

K.AREN BARSANTI, )
~)w
Plaintiff, )
)
vs. )
)
ALLSTATE INSUR.ANCE ) ‘
cOMPANY, )
’ - )
Defendant. )
) Case No. 3AN_/Q:§- ?/;1. CI
COMPLAINT

COMES NOW the plaintiff, KAREN BARSANTI, by and through her
attomeys, and for her complaint against defendant ALI.STATE U`{SURANCE

lCOMPAN'Y, does state and allege as follows:

Barsann` v Allstate Insumncc Co.,
2671 / 01 COMPLATNT
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Case 3:12-cV-OOO74-SLG Document 1-2 Filed 04/05/12 Page 1 0

   

 

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1. At all times material hereto, Karen Barsanti Was and is a resident of
Anchorage, Alasl<:a.

2. At all times material hereto, Allstate lnsurance Corripany
(hereinalter “Allstate”) Was and is an insurance company doing business in the State
of Alaska subject to the jurisdiction of this court.

3. Allstatc is liable for the actions and/ or failures to act of its
employees under theories of Vi<;arious liability and/ or agency and/cr respondeat
.superior.

4. On 9/14/03, Ms. Barsanti Was injured in an auto collision caused by
the negligence and recklessness of an underinsured drunk driven

5. On 12/21/09, Ms. Barsanti triggered an underinsured motorist
(U[M) bodily injury (BI) claim Witl'l Allstate When the tortfeasor’s insurer agreed to
pay its $50,000 liability bodily injury policy limit With interest, partial attorney fees,
and costs.

l 6. On 3/2/10, Ms. Barsanti properly submitted her UIM BI claim to
Allstate.

7. Ms. Barsa_nti’s UIM Bl claim is a first-party claim.

8. Allstate had an obligation to promptly, fairly and objectively
investigate Ms. Barsanti’s UIM BI claim.

9. Allstate bad an obligation to pay Ms. Barsanti an equitable amount

Barsanti v Allstate lusurance Co.,
2677 / 01 COMPLAINT 2

Page 2
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Case 3:12-cV-OOO74-SLG Document 1-2 Filed 04/05/12 Page 2 of 7

  

 

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9/7/10.

 

 

to compensate her for her UIM BI damages

10. Allstat€ had an obligation to treat Ms. Barsanti’s interests With

equal regard as its own interests When handling her UIM BI claim.

lI. On 9/7/10, Allstate concluded its investigation of Ms.`Barsanti’s

UHVI BI Claim.

12. Allstate offered Ms. Barsanti $1,500 for her UIM BI claim on

13. Allstate required Ms. Barsanti to submit to an arbitration
proceeding if she disputed Allstate’s “take it or litigate” evaluation of her UIM BI

claim. `

14. Allstate Was aware that Ms. Barsanti Would incur unnecessary delay

and expenses in order to proceed through arbitration

 

15. ln the ten years before 9/ 7 / 10, the majority of Allstate’s
Uninsured (UM) and UIM BI Alaska arbitration hearings took place longer than a '
year after its insured requested arbitration

16. Arbitration decisions regarding damages in UM and UIM Bl claims
are fair and reasonable

17. Allstate has never conducted a trial dc novo in an Alaslsa court on a

UM or UIM BI claim after an arbitration decision Was rendered in that UM or UIM

BI claim.

Barsauti v Allstate Insurance Co.,
2677/ 01 COMPLAINT

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18. When it adjusts UM and UIM BI claims in Alaska, Allstate should

y attempt to determine the same amount Of bodily injury damage that a UM/UIM BI

l arbitration panel Would determine
l 19. It Would be unreasonable for Allstate to engage in a pattern or
ipractice of offering UM/UIM BI claimants less than the amounts ultimately found by
arbitration panels in Alasl~:a for those claims.
20. Allstate has a history, pattern and practice of undervaluing UM and
UIM oiainis, forcing injured insureds to arbitration, and the arbitrators finding damages
far higher than Allstate's best for only) off€r.
21. Allstate has an obligation to review its arbitration results in UM
and UIM BI claims to ensure that it is has not engaged in a pattern or practice of

compelling insureds to litigate for recovery of amounts due under its policies by

offering substantially less than the amounts ultimately recovered in actions brought

by those insureds

22. Allstate failed to fairly, reasonably and objectively evaluate Ms.

Barsanti’s claims, injuries and damages

‘ 23. Allstate failed to reasonably review and consider its arbitration
results in UM/UIM Bl claims in Alaska When it offered $1,500 to Ms. Barsanti.

24. On 7/12/11, the arbitration panel in Ms. Barsanti’s case

ldeterrnined that her bodily injury damages Were 317 9,476.91.

Barsanti v Allstate Insurance Co., _
2677 / 01 coMPLArNT }Ll»

Page4 ' _ EXHlBlT
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Case 3:12-cV-OOO74-SLG Document 1-2 Filed 04/05/12 Page 4 of 7

 

25. On 7/14/11, Allstate determined that its UIM BI damage owed to
MS. Barsanti Was 365,065.39 based on the arbitration panel`s decision d
26. Before the arbitration, Allstate never offered to pay Ms. Barsanti
more than $1,:')00 for her UIM BI claiin.
27. Ms. Barsanti’s damages as fixed by the arbitrators were 11,965%
i higher than the amount offered by Allstate.
§ 28. Ms. Barsanti’s Allstate UIM damage as fixed by the arbitrators Was
more than 43 times the amount of Allstate’s highest offer before the arbitration

29. Allstate knew or should have known that the 31,500 it offered Ms.

Barsanti Was substantially less than the amount she Would likely recover for her UIM

 

BI claim following arbitration

30. When Allstate offered 31,500 to Ms. Barsanti, it had a highly
structured claims handling process Which it used to systematically undervalue and
underpay claims. This system included what Allstate calls its “Claims Core Process
Redesign" (CCPR) procedures and a claims evaluation computer called “Colossus.”

31. Allstate applied its CCPR system to undervalue Ms. Barsanti’s

cber&Banker,u£ UIM BI claim and force her to litigate to iecover the policy benefits she paid for and
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32. Allstate utilized “Colossus” to undervalue Ms. Barsanti’s UIM BI

claim.

Barsanti v A]lstate lnsui‘zmoe Co.,
2677 / 01 COMPLATNT A,
Page 5 EXHIB|T

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Case 3:12-cV-OOO74-SLG Document 1-2 Filed 04/05/12 Page 5 of 7

 

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33. Allstate’s process of systematically “low~balling” claims and
delaying payment through forced arbitration are part of Allstate’s intentional plan,
practice and scheme to put claimants to the choice of receiving prompt but unjustly
low settlement offers (tvhat Allstate calls its “Good Hands” treatment) o‘r delayed
payment and aggressive litigation {What Allstate calls its “Boxing Gloves”
treatment).

34. Allstate has publicly stated that its claims system is intentionally
designed to “drive down injury Values.”

35. Allstate systematically undervalues claims for the purpose of
providing financial gain to the corporation at the expense of Allstate’s insureds

36. Allstate inflicted its bad faith claims handling system on Ms.
Barsanti thereby depriving her of the fair claim handling and insurance benefits that
she had paid for, and to which she Was entitled under her policy.

37. Allstate’s conduct caused Ms. Barsanti damages including
economic harm, delay damages, economic disruption, inconvenience, arbitration
expenses, mental distress, pain and suffering, and the loss of the value of the fair claim
handling and insurance benefits of her insurance policy.

38. Allstate is liable to Ms. Barsanti for breach of the covenant of good
faith and fair dealing

39. Allstate’s conduct evidenced reckless disregard to .Ms. Barsanti’s

Barsanti v Allsta¢c Insurani:e C'o.,
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interests

40. Allstate’s conduct was outrageous and/ or in reckless disregard of

Ms. Barsanti’s interests

41. Allstate is liable for punitive damages

WHEREFORE, having fully pled her complaint, Ms. Barsanti requests a
judgment against Allstate for compensatory damages in an amount greater than
vfi`) lO0,000.00 and punitive damages in an amount to be determined by the trier of fact,

plus interest, costs and attorney fees and such other relief as the court deems just.

DATED at Anchorage, Alaska this lig c day of Marcli, 2012.

Barsanli v Allstatc lnsurance Co.,
2677 / 01 COMPLAI`NT
Page 7

BARBER 815 Banker, LLC
Attorneys for Plaintiff

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Case 3:12-cV-OOO74-SLG Document 1-2 Filed 04/05/12 Page 7 of 7

